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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF RHODE ISLAND
______________________________________________________

A.C., a minor, by her parent and guardian ad litem,               :
Torrence S. Waithe, A.C., a minor, by her parent and              :
guardian ad litem, Nicolas Cahuec, A.F. and R.F., minors,         :
by their parent and guardian ad litem, Aletha Forcier,            :   Civil Case Number
I.M. and L.M., minors, by their parents and guardians ad litem    :   1:18-cv-645
Jessica Thigpen and Anthony Thigpen, K.R., a minor, by her        :
parent and guardian ad litem, Marisol Rivera Pitre, J.R.,         :
a minor, by her parents and guardians ad litem, Moira Hinderer    :
and Hillary Reser, M.S., a minor, by his parent and guardian ad   :
litem Mark Santow, M.S., a minor, by his parent and guardian ad   :
litem, Amie Tay, M.S., a minor, by her parents and guardians ad   :
litem, Maruth Sok and Lap Meas, A.W. and J.W., minors, by their   :
parent and guardian ad litem, Chanda Womack, and N.X.,            :
a minor, by her parents and guardians ad litem, Youa              :
Yang and Kao Xiong, on behalf of themselves and all others        :
similarly situated,                                               :
                                         Plaintiffs,              :
                                                                  :
                                                                  :   CLASS ACTION
                                                                  :   COMPLAINT
                      v.                                          :
                                                                  :
Gina Raimondo in her official capacity as Governor                :
of the State of Rhode Island, Nicholas A. Mattiello,              :
in his official capacity as Speaker of the Rhode Island           :
House of Representatives, Dominick J. Ruggerio,                   :
in his official capacity as President of the Rhode Island         :
Senate, Ken Wagner in his official capacity as                    :
Commissioner of Education of the State of Rhode Island,           :
the Rhode Island State Board of Education, and the                :
Council on Elementary and Secondary Education,                    :
                                                                  :
                                          Defendants.                 :

______________________________________________________
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                              PRELIMINARY STATEMENT

      1. Plaintiffs in this case allege that the state defendants have failed to carry out their

         responsibilities under the United States Constitution to provide all students a

         meaningful opportunity to obtain an education adequate to prepare them to be

         capable citizens. In San Antonio Ind’t Sch. Dist. v. Rodriguez, 411 U.S. 1 (1973), the

         U.S. Supreme Court raised, but failed to provide an answer to, the question of

         whether students have a fundamental right under the fourteenth amendment to the

         opportunity of an education that provides them “the basic minimal skills necessary

         for the enjoyment of the rights of speech and of full participation in the political

         process.” Id. at 37. Plaintiffs are now asking this Court to consider this critical

         question and to answer it in the affirmative.

      2. The primary reason our public school system was created was to ensure that “under

         our republican government, … education … [must be] sufficient to qualify each

         citizen for the civil and social duties he will be called to discharge…” Horace

         Mann, Tenth Annual Report to the Massachusetts State Board of Education (1846).

         In the 21st century, numerous state courts have recognized the continuing — and

         even more urgent — need in our complex internet age for all citizens to receive a

         sound basic education that will prepare them “to function productively as civic

         participants.” Campaign for Fiscal Equity v. State, 801 N.E. 2d 326, 330 (NY 2003).

         “Mere competence in the basics — reading, writing and arithmetic — is insufficient

         … [a] broad exposure to the social, economic, scientific, technological, and political

         realities of today’s society is essential for our students to compete, contribute and




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         flourish in the twenty-first-century.” Claremont Sch. Dist. v. Governor, 703 A.2d

         1353, 1359 (N.H. 1997).

      3. Although the U.S. Supreme Court did not reach the precise question raised in the

         present case, in Brown v. Board of Education, a unanimous Court did hold that

         “education is perhaps the most important function of state and local governments….

         It is the very foundation of good citizenship.” Brown v. Board of Education, 347

         U.S. 483, 493 (1954). The Supreme Court has also recognized that:

            “[E]ducation is necessary to prepare citizens to participate effectively and
            intelligently in our open political system if we are to preserve freedom and
            independence,” Wisconsin v. Yoder, 406 U.S. 205, 221 (1972);

            “[The schools] are educating the young for citizenship,” Tinker v. Des
            Moines Indep. Sch. Dist., 393 U.S. 403, 507 (1969); and

            “Schools are where the ‘fundamental values necessary for the maintenance
            of a democratic political system’ are conveyed,” Plyler v. Doe, 457 U.S.
            202, 221 (1983).

      4. Despite this virtually universal recognition of the schools’ responsibility to prepare

         young people to be capable citizens — and despite the specific language in the

         constitution of the State of Rhode Island that recognizes that “the diffusion of

         knowledge as well as virtue among the people” is “essential to the preservation of

         their rights and liberties,” and that it is the state’s responsibility to “promote public

         schools and … secure to the people the advantages and opportunities of education,”

         R.I. Const. Art. 12, § 1, the state defendants have failed to provide the named

         plaintiffs and tens of thousands of other students in the state of Rhode Island an

         education that is adequate to prepare them to function productively as civic

         participants capable of voting, serving on a jury, understanding economic, social and



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         political systems sufficiently to make informed choices, and to participate effectively

         in civic activities.

      5. After decades of neglect of the civic purposes of education, it is a stark fact that on

         the most recent examination of knowledge of civics administered in 2014 to a

         national sample of eighth graders by the National Assessment of Educational

         Progress (NAEP) only 23% of these students reached the “proficiency” level.

      6. The depth of ignorance that these scores reflect was further highlighted in a recent

         report on the schools’ civic mission that recounted the following national statistics:

            Less than a third of eighth graders could identify the historical purpose of the

             Declaration of Independence, and less than a fifth of high school seniors could

             explain how citizen participation benefits democracy.

             In 2006, in the midst of both midterm elections and the Iraq [W]ar, fewer than

             half of Americans could name the three branches of government, and only four in

             ten young people (aged 18 to 24) could find Iraq on the map.

            Only one in five Americans between the ages of 18 and 34 read a newspaper, and

             only one in ten regularly click on news web pages.

         Campaign for the Civic Mission of the Schools et al., Guardian of Democracy: The
         Civic Mission of Schools 14 (2011).

      7. Preparing students to be capable citizens is of heightened importance today as many

         of our democratic institutions are being challenged and compromised, in large part

         because of wide-spread ignorance of their importance and of the public support that

         is necessary to maintain them. In this climate, schools serve a vital function; they

         remain one of the few places in our highly polarized society where people from

         diverse political, economic and cultural backgrounds can come together in a setting

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         where rational discussion and understanding of differing views can be prized and

         rewarded.

      8. Virtually all educators, scholars, and policy makers who have studied these issues

         have agreed that effective education for civic participation in the 21 st century

         requires students to develop:

            Substantive knowledge of our governmental structures and the functioning of
             democratic institutions.

            Verbal, and media literacy skills.

            Interpersonal and civic engagement skills that stem from involvement in
             extracurricular activities, and school-based and community-based experiential
             opportunities; and

            basic character values like responsibility, honesty, and self-discipline, as well as
             important democratic values like tolerance, respect for due process, and the rule
             of law, and support for the fundamental political institutions of our society.


      9. The Guardians of Democracy Report, issued by the Campaign for the Civic Mission

         of the Schools chaired by former U.S. Supreme Court Justice Sandra Day O’Connor

         and former Congressman Lee Hamilton, validated these principles and set forth a

         series of “proven practices” for developing this civic knowledge, and these civic

         skills, experiences and values in all students. This report has been endorsed by a

         broad array of academic, civic, legal, and educational institutions, representing the

         full range of the political spectrum.

      10. Nevertheless, the state defendants have failed to adopt and implement these

         principles and proven practices and have failed to provide the named plaintiffs and

         tens of thousands of other students in Rhode Island with adequate opportunities to




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            develop the civic knowledge, skills, experiences and values they need to function

            productively as civic participants.

        11. Plaintiffs allege that the failure to provide them and the numerous other students

            who are similarly situated an adequate education for capable civic participation

            violates their constitutional rights under the Equal Protection, Privileges and

            Immunities and Due Process Clauses of the Fourteenth Amendment, the Sixth and

            Seventh Amendments and violates the guarantee that they will live in a state with a

            republican form of government under Article Four, Section Four of the United States

            Constitution.

                                       JURISDICTION

        12. The jurisdiction of this Court is invoked under 28 U.S.C. §§ 1331 and 1343.

            Plaintiffs’ action for declaratory and injunctive relief is alleged pursuant to 28

            U.S.C. §§ 2201, 2202, and is authorized by 42 U.S.C. § 1983 which provides redress

            for the deprivation under color of state law of rights, and privileges and immunities

            secured to all citizens and persons within the jurisdiction of the United States. This

            action is predicated upon violations of the Fourteenth Amendment, the Sixth and

            Seventh Amendments, the Jury Selection and Service Act, 28 U.S.C.§ 1861, and

            Article Four, Section Four of the United States Constitution.

                                            PARTIES
   Plaintiffs
        13. Plaintiff A.C. is a student in the 12th grade at the Providence Career and Technical

            Academy in the Providence Public Schools. She has been enrolled in the Providence




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         Public Schools since elementary school. She is a resident of the State of Rhode

         Island.

      14. Plaintiff A.C. is a student at the 360 High School in Providence, Rhode Island. She

         is an English Language Learner and has received English Language Learner services

         from the Providence Public Schools. She is a resident of the State of Rhode Island.

      15. Plaintiffs A.F. and R.F. are students in the 10th grade and in the 8th grade,

         respectively, in the Woonsocket High School Career and Technical Center and in the

         Woonsocket Middle School, in the Woonsocket school district. They are residents of

         the State of Rhode Island.

      16. Plaintiff J.R. is a student in the second grade at the International Charter School, a

         public school in Pawtucket, Rhode Island. She lives in Providence, Rhode Island

         and is a resident of the State of Rhode Island.

      17. Plaintiff K.R. is a student in the seventh grade at the Segue Charter School, a public

         school in Central Falls, Rhode Island. She lives in Central Falls, Rhode Island and is

         a resident of the State of Rhode Island. She is an English Language Learner and

         receives English Language Learner services from the Central Falls Public Schools.

      18. Plaintiff M.S. is a student in the seventh grade at Nathan Bishop Middle School in

         the Providence Public Schools. He is a resident of the State of Rhode Island.

      19. Plaintiff M.S. is a student in the 12th grade at Classical High School in the

         Providence Public Schools. He has attended Providence Public Schools since first

         grade. He is a resident of the State of Rhode Island.




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      20. Plaintiff M.S. is a student in the 11th grade at Classical High School in the

          Providence Public Schools. She has attended Providence Public Schools since first

          grade. She is a resident of the State of Rhode Island.

      21. Plaintiffs I.M. is a student in the 11th grade at Cranston High School West in the

          Cranston school district. He is eligible for special education services. He is a

          resident of the State of Rhode Island.

      22. Plaintiff L.M. is a student in the ninth grade at the MET School, a state operated

          career and technical school in Providence. She lives in Cranston, Rhode Island and

          until this year she attended public schools in the Cranston school district. She is a

          resident of the State of Rhode Island.

      23. Plaintiff A.W. lives in Providence, Rhode Island and has attended public schools in

          Providence until this year. She is a resident of the State of Rhode Island.

      24. Plaintiff J.W. is a pre-school-aged student. He lives in Providence, Rhode Island and

          will be enrolled in public school when he is old enough. He is a resident of the State

          of Rhode Island.

      25. Plaintiff N.X. is a student in the 12th grade at Classical High School in the

          Providence Public Schools. She is a resident of the State of Rhode Island.

      Defendants

      26. Defendant Gina Raimondo, sued in her official capacity, is the Governor of the State

          of Rhode Island. As Governor, Defendant Raimondo is the chief executive officer of

          the state, has the responsibility to “take care that the laws be faithfully executed,”

          pursuant to Art IX, § 2 of the Rhode Island Constitution and, as such, is responsible

          for ensuring that all provisions of the United States Constitution and all federal and



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         state laws and regulations relating to the state’s responsibility for preparing students

         for civic participation are efficiently and effectively implemented.

      27. Defendant Nicholas A. Mattiello, sued in his official capacity, is the Speaker of the

         Rhode Island House of Representatives, and defendant Dominick J. Ruggerio, sued

         in his official capacity, is the President of the Rhode Island Senate. The legislative

         bodies that they lead are responsible for exercising the legislative power of the State

         of Rhode Island and for “adopt[ing] all means necessary and proper to secure to the

         people the advantages and opportunities of education. . .” R.I. Const. Art. XII § 1.


      28. The members of Defendant Rhode Island State Board of Education are responsible

         for carrying out the responsibilities set forth in R.I. General Laws §§ 16-97-1 and

         16-97-1.2 for all schools, Kindergarten through higher education, in the state,

         including long-range planning and establishing, coordinating and evaluating policies

         and programs for the public educational systems of the state. Eight of the seventeen

         members of the board, as designated by the Governor, also constitute the state’s

         Council on Elementary and Secondary Education, R.I General Laws § 16-60-2.

      29. Defendant Council on Elementary and Secondary Education has the power and duty

         to adopt standards and require enforcement and to exercise general supervision over

         all elementary and secondary public and nonpublic education in the state. The

         Council also appoints the commissioner of education, and exercises the other powers

         and duties set forth in R.I General Laws § 16-60-4.

      30. Defendant Ken Wagner, sued in his official capacity, is the Commissioner of

         Education for the State of Rhode Island. The commissioner is the chief executive

         officer of the Department of Education and is vested with the powers and duties set

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           forth in R.I. General Laws § 16-60-6, including the responsibility for ensuring the

           administration and enforcement of the laws and regulations related to public

           education. He is also the primary liaison to the United States Department of

           Education and other federal agencies.




                                  FACTUAL BACKGROUND

        31. American democracy today is facing severe challenges: the electorate is highly

           polarized, few people engage in conversation with individuals holding opposing

           views, and there is widespread acceptance and circulation of one-sided and

           erroneous information. Moreover, the proportion of eligible voters who actually vote

           is substantially lower than in most other developed countries, and the number of

           citizens who actively participate in local community activities has dramatically

           declined over the past half century.

        32. These trends indicate that the schools in recent decades have failed to carry out their

           core responsibility to prepare young people to be good citizens, civically engaged,

           capable of safeguarding America’s democratic values and our democratic

           institutions. As former U.S. Supreme Court Justice Sandra Day O’Connor has

           stated, “We are failing to impart to today’s students the information and skills they

           need to be responsible citizens.” Foreword to Campaign for Civic Mission of the

           Schools, No Excuse: Eleven Schools and Districts That Make Preparing for

           Citizenship a Priority and How Others Can Do It Too, 5 (2010).




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        33. The nation’s founders believed that the profound experiment in republican

           government that they were initiating depended on citizens’ ability to participate in

           public life and to exhibit civic virtues such as mutual respect and prudent judgment.

           For the new republic to be maintained, the founding fathers believed that the role of

           the schools would be critical and that, as John Adams put it: “The education of a

           nation instead of being confined to a few schools and universities for the instruction

           of the few, must become the national care and expense for the formation of the

           many.” David McCullough, John Adams, Simon & Schuster (2001).

        34. In the nineteenth century, a “common school” system -- i.e. the American public

           school system -- was established precisely to ensure that all students, rich or poor,

           native or immigrant, could be educated together in a common environment in which

           civic knowledge and civic values could be inculcated.

        35. Over the past half century, however, most American public schools, including most

           schools in Rhode Island, have substantially neglected their responsibility to prepare

           students for civic participation. Policy makers and educators, including the

           defendants in this case, have downgraded the teaching of social studies and civics,

           focusing in recent decades on basic reading and math instruction and on the

           economic value of education to individual students. They have also substantially

           neglected professional development of teachers in civics education.

        36. Many young people today are apathetic regarding basic democratic values. A recent

           study found that when asked to rate on a scale of 1 to 10 how “essential” it is for

           them “to live in a democracy,” 72% of those born before World War II chose 10, the

           highest value, but among those born after 1980, only about 30% accorded maximal



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           importance to living in a democracy. This study also found that in 2011, 24% of

           those born in the U.S. after 1980 (then in their late teens or early twenties)

           considered democracy to be a ‘bad’ or ‘very bad’ way of running the country.

           Roberto Stefan Foa & Yascha Mounk, The Democratic Disconnect, 27 J.

           DEMOCRACY 5, 7-8 (2016).,

           https://www.journalofdemocracy.org/sites/default/files/Foa%26Mounk-27-3.pdf

        37. Most social studies classes in Rhode Island do not discuss social problems and

           controversial ideas, and opportunities for students to participate in extracurricular

           activities, service learning, and actual and simulated political experiences are

           inadequate and tend to be cut back or eliminated in times of fiscal constraint.

        38. Most public schools in the United States today, including most schools in Rhode

           Island, have also failed to help students apply critical thinking to their use of new

           media. The Stanford History Education Group recently administered a series of

           assessments that gauge “civic online reasoning” to approximately eight thousand

           secondary school and college students across twelve states. In one of these exercises,

           the researchers sent high school and college students to a website that purported to

           be a fair broker of information on the relationship between minimum-wage policy

           and employment rates, but, in fact, it was a front for a public relations firm that

           poses as a think tank. Only 9% of high school students taking Advanced Placement

           history courses were able to see through the language used on site to determine that

           its reporting was biased. Among college students the results were actually worse:

           93% of students were fooled. Most students never moved beyond the site itself.




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           Stanford History Educ. Grp., Evaluating Information: The Cornerstone of Civic

           Online Reasoning 4 (2016).

        39. The ability of the schools to carry out their historical civic preparation role has been

           further undermined by the disparities in opportunities for effective civic preparation

           that are available in many schools with inadequate educational resources. This has

           resulted in a large “civic empowerment gap” for many African-American and Latino

           students and for many students from low-income families. For example, on the 2014

           NAEP 8th Grade test in civics, while 32% of white eighth graders performed at or

           above the proficient level, only 9% of black students and 12 % of Latino students did

           the same.

        40. The results of the schools’ substantial failure to prepare students for civic

           participation are apparent. In 1971, when bi-partisan super-majorities enacted the

           26th Amendment to the U.S. Constitution that gave 18-year-olds the right to vote,

           there was an expectation that young people would enthusiastically take advantage of

           this important constitutional opportunity. However, fewer of America’s youngest

           voters have, in fact, exercised their right to vote over the past 50 years, and their

           voting rates have substantially declined over time. In the 2016 presidential election,

           only 61.4% of Americans eligible to vote chose to do so, and among younger voters,

           aged 18-29, the voter turn-out was only 46.1%. Thomas File, U. S. Census Bureau,

           Voting in America: A Look at the 2016 Presidential Election, available at

           https://www.census.gov/newsroom/blogs/random-

           samplings/2017/05/voting_in_america.html. Americans rank 139 th in voter

           participation out of 172 world democracies. McCormick Tribune Foundation, Civic



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           Engagement in Our Democracy 6 (2007), available at

           http://documents.mccormickfoundation.org/publications/civicdisengagement.pdf.

        41. There has also been a substantial decline in knowledge and interest in public affairs.

           Between 1972 and 2008, the share of people saying they follow “what’s going on in

           government and public affairs” declined from 36% to 26%. Sen. Mike Lee, What We

           Do Together: The State of Associational Life in America 40 (2017).

        42. Participation in local civic activities has also plummeted, especially among young

           people. “[M]embers of the generation born in the 1920s belong to almost twice as

           many civic associations. . . .The grandparents are . . . twice as likely to work on a

           community project . . . they are almost three times as likely to read a daily

           newspaper. (75% vs. 25%).” Robert Putnam, Bowling Alone: The Collapse and

           Revival of American Community 254 (2000).

        43. Volunteering among high school and college students nationally has declined since

           the early 2000s and has remained relatively low and stagnant for the last decade. For

           the years 2012-2015, only 21% of Rhode Islanders aged 15-24 volunteered to work

           with organizations that address problems in their communities, and only 23% of

           Rhode Island adults over age 25 volunteered for such engagements. Both of these

           volunteer rates are below the national average. Robert T. Grimmand and Nathan

           Dietz, Good Intentions, Gap in Action: The Challenge of Translating Youth’s High

           Interest in Doing Good into Civic Engagement. (Do Good Institute, University of

           Maryland, 2018), available at

           https://www.publicpolicy.umd.edu/sites/default/files/Good%20Intentions%2C%20G

           ap%20in%20Action_Do%20Good%20Institute%20Research%20Brief.pdf.



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                                LEGAL BACKGROUND

        44. In 1973, the U.S. Supreme Court, held, by a 5–4 vote, that a pattern of substantial

           disparities in the amount of education funding available to local school districts in

           Texas was not unconstitutional. San Antonio Independent School District v.

           Rodriguez, 411 U.S. 1 (1973). The Court held that education is not a “fundamental

           interest” under the federal Constitution, Id. at 29, and, therefore, plaintiffs were not

           entitled to strict scrutiny of their claim. Despite the acknowledged importance of

           education, the majority held that education was not a fundamental interest because

           “the importance of a service performed by the State does not determine whether it

           must be regarded as fundamental for purposes of examination under the Equal

           Protection Clause.” Id. at 30. Applying the rational relationship standard, the Court

           upheld the Texas education finance system despite its inequities after determining

           that local control of education was a rational state interest.

        45. Justice Thurgood Marshall, in a strong dissent, took issue with this position. He

           argued that although education is nowhere directly mentioned in the Constitution,

           education must be deemed a fundamental interest because of “the unique status

           accorded public education by our society, and by the close relationship between

           education and some of our most basic constitutional values.” Id. at 111 (Marshall, J,

           dissenting). Specifically, he stressed the importance of education for exercising First

           Amendment rights, “both as a source and as a receiver of information and ideas,”

           and for exercising the constitutional right to vote and to participate in the political

           process. Id. at 113– 14. See also id. at 63 (Brennan, J., dissenting).




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        46. Justice Powell, writing for the majority, accepted the dissenters’ basic perspective.

           After summarizing the arguments on this point, he stated:

              We need not dispute any of these propositions. The Court
              has long afforded zealous protection against unjustifiable
              governmental interference with the individual’s rights to
              speak and to vote…
      However, he also held that the Court did not have to consider this issue in the case

      at bar because:

              Even if it were conceded that some identifiable quantum of
              education is a constitutionally protected prerequisite to the
              meaningful exercise of either right, we have no indication that the
              present levels of educational expenditures in Texas provide an
              education that falls short. . . . [In the present case] no charge fairly
              could be made that the system fails to provide each child with an
              opportunity to acquire the basic minimal skills necessary for the
              enjoyment of the rights of speech and of full participation in the
              political process.
       Id at 36-37.

        47. In short, then, in Rodriguez, all of the Justices indicated that some basic level of

           education may be necessary for students to obtain the essential knowledge and skills

           they need for “full participation in the political process.” Because plaintiffs in that

           case had not presented specific evidence on what that basic level of education should

           be and whether the schools attended by the plaintiff children were providing that

           amount of education, the majority determined that it did not need to decide what

           “what identifiable quantum of education” students might need to exercise their First

           and Fifteenth Amendment rights.

        48. A number of years later, the Court specifically reiterated that it still had not

           definitively settled the question of whether a minimally adequate education is a

           fundamental interest and whether a statute alleged to infringe that right should be


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           accorded heightened equal protection review. Papasan v. Allain, 478 U.S. 265, 284

           (1986).

        49. The Supreme Court has also underscored the significance of the constitutional right

           to a trial by jury in both criminal and civil cases, Duncan v. Louisiana, 391 U.S. 145

           (1968), and the importance of the right of all citizens to serve as jurors: as Justice

           Kennedy stated for the Court in Powers v. Ohio, 499 U.S. 400, 407 (1991), "Indeed,

           with the exception of voting, for most citizens the honor and privilege of jury duty is

           their most significant opportunity to participate in the democratic process."

        50. Since the Supreme Court issued its Rodriguez decision in 1973, claims of inequities

           in education funding have been litigated in state courts in 47 of the 50 states. In

           approximately 60% of these cases, the state courts have held that there is a right to

           an “adequate,” “thorough and efficient” or “sound basic” education under their state

           constitutions, and in many of these cases, these courts have held that the states must

           remedy these inequities. In approximately 40% of the cases, (including Rhode

           Island), the state courts have held that these adequacy and equity issues are not

           justiciable or that plaintiffs had not presented sufficient evidence of inequity or

           inadequacy to justify relief.

        51. These state cases constitute a veritable “laboratory of the states” in which the state

           courts have developed a wide range of legal doctrines and remedies regarding

           educational adequacy and equity in school funding.

        52. Thirty-two of the highest state courts have also specifically held that the primary

           purpose or a primary purpose of public education is to prepare students to be capable

           citizens. The highest state courts in the other 18 states have not spoken to this issue;



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           no highest state court has contested the validity of the proposition that a prime

           purpose of education is to prepare students for capable civic participation. In none of

           these cases, however, have the state courts issued orders requiring state officials to

           take any action to ensure that the schools are, in fact, adequately carrying out their

           constitutional responsibilities to prepare students to function productively as civic

           participants.

        53. Declaratory and injunctive relief is needed at this time from the federal courts in

           order to remedy on a uniform basis the national deficiencies in preparing students for

           civic preparation and the failure of most schools not only in Rhode Island but

           throughout the country to carry out their responsibilities under the U.S. Constitution

           to provide all students meaningful opportunities to become capable civic

           participants.



                                 SPECIFIC ALLEGATIONS

       Civic Knowledge

        54. In the mid-twentieth century, three civics-related courses were common in American

           high schools: civics, problems of democracy, and American government. The

           traditional civics course emphasized the rights and responsibilities of citizens and the

           ways that they could work together and relate to government. Courses in “problems

           of democracy” involved discussions of public policy issues. The government class

           described and analyzed governmental institutions and how they function in a

           democratic society.




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        55. Today, students in Rhode Island are not required to take any courses in civics.

           Although some high schools in relatively affluent districts do offer a civics course as

           an elective, on information and belief, the majority of schools in Rhode Island do

           not. For example, although Woonsocket used to offer an elective course in civics,

           that course was eliminated in 2009 in the wake of the 2008 recession and has not

           been re-instated since.

        56. Rhode Island does not have any state examinations or accountability systems that

           assess whether students have any knowledge of civics, social studies or American

           government by the time they graduate from high school.

        57.The National Assessment Governing Board, the division of the U.S. Department of

           Education that oversees the National Assessment of Educational Progress (NAEP),

           has delineated what it considers to be the key elements of civic education. It has

           published a “framework” that identifies five major areas of civic knowledge

           covering America’s political institutions, political values, and role in international

           politics:

             What are civic life, politics, and government?

             What are the foundations of the American political system?

             How does the government established by the Constitution embody the purposes,

              values, and principles of American democracy?

             What is the relationship of the United States to other nations and to world affairs?

              What are the roles of citizens in American democracy?

              Nat’l Assessment Governing Bd., Civics Framework for the National Assessment

              of Educational Progress 16 (2014).


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        58. In recent years, many educators and policy organizations have urged states to adopt

           standards that emphasize higher-order thinking skills and critical analytic approaches

           to civics and other social studies topics. In 2013, 15 national professional

           organizations, including the American Bar Association, the American Historical

           Association, the National Council for the Social Studies, the Campaign for the Civic

           Mission of Schools, and the Center for Civic Education collaborated in developing

           “The College, Career and Civic Life (C3) Framework for Social Studies State

           Standards.” The “C3” standards recommend that by the end of twelfth grade,

           students should, among other things, be able to do the following:

              • Analyze the role of citizens in the U.S. political system, with attention to various
              theories of democracy, changes in Americans’ participation over time, and
              alternative models from other countries, past and present.

               • Explain how the U.S. Constitution establishes a system of government that has
              powers, responsibilities, and limits that have changed over time and that are still
              contested.

              • Evaluate citizens’ and institutions’ effectiveness in addressing social and
              political problems at the local, state, tribal, national, and/or international level.

               • Apply civic virtues and democratic principles when working with others.

              • Use appropriate deliberative processes in multiple settings.

        59. Rhode Island has not adopted the C3 standards. Although the social studies

           standards promulgated by the Rhode Island Education Department (RIDE) do

           contain some of the learning standards recommended by the NAEP framework and

           the C3 standards, RIDE has no monitoring or accountability systems in place to

           ensure that any of these concepts are, in fact, being taught or are being taught

           effectively in Rhode Island’s schools.




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        60. For the past six years, the position of social studies specialist in the state education

           department has remained unfilled, reflecting the low priority that the defendants

           place on implementing their own social studies standards.

        61. There is no requirement in Rhode Island that social studies teachers have any

           knowledge or training in civics or in American government, nor does the state

           provide any professional development for teachers in these areas.

        62. Rhode Island’s educational accountability system focuses on schools’ performance

           in reading, math and science and totally neglects monitoring and accountability

           regarding civics, history, social studies, and economics.

        63. All school districts and schools in Rhode Island are required to issue annual report

           cards informing the public of students’ progress in various areas. The mandated

           report cards in Rhode Island include extensive information regarding student

           progress in reading and math but no information whatsoever about student

           performance in civics, history, social studies, and economics.

        64. Because of the limited time and resources available for them to meet the needs of

           their students, and especially of those students with high needs, most school

           superintendents and principals in Rhode Island focus instruction in their schools on

           subjects and practices that are mandated and/or tested.

        65. On information and belief, most schools in Rhode Island lack sufficient up-to-date

           books, software and other materials for providing appropriate instruction in civics.

        66. On information and belief, the lower status of civics, and history/ social studies, has,

           in fact, meant that many schools in Rhode Island have in recent years substantially

           increased the time spent on the mandated subjects of English language arts and math



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           and reduced the time students spend in instruction in civics and history/social

           studies.

        67. On information and belief, social studies courses as actually taught in most Rhode

           Island schools do not properly implement the state’s own standards and students are

           exposed to little, if any, of the civics content contained in the standards. For

           example;

           a. The social studies courses that Plaintiff M.S. has taken in high school presented a

           limited number of formal facts about American governmental institutions, failed to

           show how these institutions actually do or should function to promote democratic

           values and did not inform students of how these institutions relate to his future role

           as an active, informed citizen;

           b. Plaintiff A.C. has attended schools in Providence since her elementary years and

           has never received meaningful instruction in civics or civic values. On information

           and belief, none of her teachers have been trained or had any education or

           professional development in the teaching of civics. Neither the state, the school

           district nor her school has ever required her to take a test or any assessment of her

           knowledge of civics;

           c. Plaintiffs A.F. and R.F. have not received any dedicated civics instruction in the

           Woonsocket Public Schools throughout their time enrolled.

           d. Students with special education needs like Plaintiff I.M. in the Cranston Public

           Schools do not receive adequate instruction in history, American government and

           civics or adequate extracurricular experiences geared to their special learning needs

           that will prepare them to function productively as civic participants as adults.

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        68. The federal Every Student Succeeds Act (ESSA) requires each state to file a plan

           that sets forth, inter alia, the methods it will use and the priorities it will establish for

           meeting the needs of educationally disadvantaged students.

        69. ESSA requires each state to implement “high-quality student academic assessments”

           in mathematics, reading or language arts, and science, but not in civics, history,

           world languages, social studies, economics, or the arts, 20 U.S.C.A § 6311(b)(1)(C)

           (2015).

        70. The ESSA law and regulations do not, however, preclude states from adopting high

           standards and implementing “quality student academic assessments” in civics,

           history, economics or social studies or the arts, and, some states have included some

           or all of those subjects among the priority areas that they will pursue in their

           educational planning for the foreseeable future.

        71. The ESSA plan that Rhode Island filed in March 2018, however, did not include any

           commitments to improve instruction in civics or to require statewide testing of

           student knowledge in civics, history, economics or social studies or the arts.

        72. Although several litigations have been filed in the Rhode Island state courts seeking

           enforcement of provisions in the State constitution that require the state to provide

           an adequate education, the Supreme Court of Rhode Island has on two separate

           occasions held that such issues are not properly the province of the courts and

           indicated that plaintiffs should seek a remedy for the educational inadequacies they

           alleged from the legislature, and not from the courts.  City of Pawtucket v. Sundlun,

           662 A.2d 40 (R.I. 1995), Woonsocket Sch. Comm v. Chafee, 89 A.3d 778 (R.I.



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           2014). Since these cases were decided, the legislative defendants have taken no

           substantive actions to ensure that adequate resources exist in Rhode Island’s schools

           to ensure that all students are being provided access to an adequate education.

        73. In Pierce v. Society of Sisters, 268 U.S. 510 (1925), the U.S. Supreme Court held

           that states have the authority to “supervise” private schools and to ensure that

           “teachers shall be of good moral character and patriotic disposition, that certain

           studies plainly essential to good citizenship must be taught and that nothing be

           taught which is manifestly inimical to the public welfare.” Id at 534.

        74. Although Rhode Island law specifically requires that instruction in private schools

           shall be “substantially equivalent to that required by this chapter for the public

           schools,” R.I. General Laws § 16-22-2; see also R.I General Laws § 16-19-2, on

           information and belief, the state does not, in fact, monitor the curricula in the private

           schools and the curricula that is currently being taught in many private schools in the

           state do not adequately prepare their students for civic participation.




       Civic Skills

        75. Effective political participation requires well-developed verbal skills and cognitive

           ability, since politics is largely concerned with the utilization and manipulation of

           language. The NAEP framework reflects this understanding: the skills it deems

           most important for students to acquire for civic preparation are those that help

           citizens identify, describe, explain, and analyze information and arguments. In

           addition, the framework states that civic participants should be able to evaluate, take,



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           and defend positions on public policies. Nat’l Assessment Governing Bd., Civics

           Framework for the National Assessment of Educational Progress, 23-26, 31 (2014).

        76. Many students in Rhode Island, and especially those attending schools in low-

           income areas, and many English language learners, do not develop adequate basic

           verbal skills and do not develop critical analytic abilities because of the poor quality

           of basic instruction and of instruction in bi-lingual and English as a Second

           Language (ESL) instruction in these schools. This failing is evidenced by the fact

           that only 39 % of all Rhode Island students across grades 3-9 achieved proficient

           scores on the 2017 PARCC statewide achievement test in English language arts.

           Furthermore, only 22% of African American and Latino students and 23% of low-

           income students achieved proficient scores on those exams, compared with 49% of

           White students. Rhode Island Department of Education, Rhode Island’s Statewide

           Results for Students in Grades 3 through 8 and High School (2017), available at,

           http://www.ride.ri.gov/Portals/0/Uploads/Documents/Rhode%20Island's%20Statewi

           de%20Assessment%20Results%202017.pdf.

        77. A democratic culture requires citizens to engage substantially in “democratic

           deliberation,” an approach to political conflict and problem solving that emphasizes

           critical reasoning, thoughtful discussion, and respect for opinions with which one

           may disagree.

        78. Developing skills for deliberative democracy requires exposing students to

           controversial ideas in the classroom. The teaching of controversial subjects in a non-

           partisan manner instills in students a sense of the complexity of issues, an exposure

           to positions different from those the students are likely to encounter at home or



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           among friends, and a concept of how respectful discussions about these issues with

           those who hold different views can take place. It also emphasizes the importance of

           accurate facts, since students cannot meaningfully engage in political discussions

           without an agreed factual basis to which competing arguments and values can relate.

        79. Because respectful discussions on controversial subjects have become substantially

           less prevalent in our highly polarized society, it is especially important that students

           are instructed effectively in the purposes and methods of democratic deliberation

           while they are in school. On information and belief, the majority of middle schools

           and high schools in Rhode Island, however, do not even attempt to promote active

           classroom discussion of controversial topics and do not, in fact, provide effective

           instruction in democratic deliberation.

        80. A prime reason why democratic deliberation is not taught effectively in most schools

           in Rhode Island is that the vast majority of teachers in these schools have not been

           trained in civics in general, and, specifically, have received no training or inadequate

           training in how to facilitate meaningful conversations on controversial issues in a

           non-partisan manner and how to develop the skills needed for democratic

           deliberation in their students.

        81. Widespread use of the internet and social media present both major challenges and

           major opportunities for educators seeking to develop critical reasoning and

           democratic deliberation skills in students. On the one hand, the digital age has the

           potential to create a dynamic new public square that motivates young people to

           engage more deeply with political issues and to develop sharply honed research and

           deliberative skills. On the other hand, the internet and social media can make it more



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           difficult to motivate and equip students for civic participation if students use these

           tools primarily for socializing, entertainment and consumer pursuits, and if they do

           not understand how facts and opinions can be manipulated and misrepresented on

           the internet and social media.

        82. Educators, therefore, need to develop curricula and instructional practices that

           motivate and enable all students to make use of the potential of the internet to

           develop lifelong critical reasoning skills and to use those skills to engage in

           “deliberative dialogue” on the internet and social media. Although a number of

           proven techniques exist for accomplishing these ends, effective instruction in “media

           literacy” is not provided in most Rhode Island schools. This problem is exacerbated

           in many of the schools in low-income areas by the fact that up-to date computers and

           other technology are scarce or non-existent in many schools.

        83. The plaintiffs attend schools that have out-of-date computers in inadequate numbers

           to sufficiently provide access to critical educational opportunities necessary to

           develop the skills for internet and media literacy. Few of the schools that plaintiffs

           have attended have the necessary databases for appropriate research necessary for

           civic preparedness.

        84. On information and belief, most teachers in Rhode Island have had no training in

           teaching media literacy skills and most schools in Rhode Island do not have on staff

           sufficient skilled library media specialists, who are the information specialists best

           equipped to provide the full range of online information sources and to instruct

           students in media literacy skills that students need for civic participation. For

           example, Woonsocket two years ago eliminated one of its library media specialists



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           in the high school for budgetary reasons. Now there is one library media specialist

           for 1,700 high school students. Although plaintiffs A.F. and R.F. and other students

           in their schools are taught how to access the internet, and other computer skills, they

           and their classmates receive no instruction in how to conduct research effectively on

           the internet, how to determine the sources of information that they have retrieved on

           the internet and social media, and whether such information is accurate or

           misleading.

        85. Defendants have recognized the importance of providing opportunities for media

           literacy to all students by enacting a statute more than a year ago that requires

           defendant RIDE to “consider, in consultation with national or statewide

           organizations focused on media literacy, the incorporation of media literacy

           education into the board of education's basic education program regulations.” On

           information and belief, RIDE has not, however, taken any action to adopt effective

           media literacy regulations or to ensure that sufficient technological equipment and

           trained staff are available in all schools to ensure that students have meaningful

           access to media literacy instruction.



        Civic Experiences

        86. In addition to civic knowledge and civic skills, students need exposure to

           experiences that show them how politics and government actually work and how

           civic participation can influence social and political outcomes. Involvement in

           student government, student newspapers, speech and debate, moot court, service-

           learning activities, field trips to state legislatures, city councils, local courts and



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           other actual and simulated civic and political activities provide important

           opportunities for learning how political and civic institutions actually function, for

           motivating students to become involved in political and civic activities later in life

           and for developing civic skills and dispositions.

        87. Involvement in student government, student newspapers, speech and debate and

           other such activities develop specific listening, speaking, organizing, petitioning, and

           tactical skills that students will need to function productively as civic participants

           later in life. In addition, these experiences stimulate interest in civic and political

           participation, and help students develop a sense of agency and the ability to affect

           their environment as well. There is a substantial correlation between participation in

           these activities and voting and participation in a range of civic activities later in life.

        88. On information and belief, most schools in Rhode Island provide no opportunities or

           only limited opportunities for student involvement in activities that provide civic

           experiences. For example, in the schools attended by plaintiffs A.C. in Providence

           and I.M. in Cranston, there are no or very limited options such student councils or

           other opportunities for student participation in school governance or school affairs,

           no or very limited school newspapers, school sponsored speech and debate or moot

           court activities. The Woonsocket schools attended by plaintiffs A.F. and R.F.

           provide no opportunities for field trips to the state legislature, city council, or courts

           and do not offer opportunities for students to engage in school-sponsored service

           learning or community engagement activities.

        89. In our increasingly diverse society, students also need opportunities to develop inter-

           personal skills that will bridge racial, ethnic, political, and cultural differences and



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           allow them to work harmoniously with others in continuously changing work and

           community environments. Involvement in co-curricular and extracurricular activities

           like drama, band, choir, school clubs and athletics provide important opportunities

           for developing these skills, overcoming stereotypes, learning to respect people from

           different backgrounds and developing trust. There is a substantial correlation

           between participation in these activities and voting and participation in a range of

           civic activities later in life.

        90. Most schools in Rhode Island, and especially schools in areas with large numbers of

           students from poverty backgrounds, provide only limited opportunities for student

           involvement in co-curricular and extracurricular activities. For example, in the

           schools attended by plaintiffs A.C. and A.C. in Providence, there is no band, no

           choir, no opportunities for students to participate in major drama productions, and

           only limited athletic opportunities.

        91. Service learning, an approach that combines community service with classroom

           discussions and analysis of community service experiences, has been found to have a

           large positive effect on later civic participation, even when controlling for a range of

           neighborhood, school, and family characteristics. An effective service-learning

           program works well because it not only enhances students’ skills and interests but

           changes their fundamental outlooks so that they become -- and see themselves as --

           active citizens.

        92. Approximately 20 states have requirements for all students to participate in service

           learning. Although R.I.G.L § 16-22-21 calls upon RIDE to “encourage the

           establishment of community service learning programs in local school districts,” in



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            fact, only a few schools actually offer these programs because of a lack of teacher

            training in this area and insufficient resources to allow staff to spend the time

            necessary to obtain appropriate community placements for students. For example,

            there are no school-district organized opportunities for service learning or action

            civics in the schools attended by plaintiffs in Woonsocket, Central Falls, Providence

            or Cranston.

        93. Because of resource deficiencies in schools in low-income areas, there has been an

            increasing gap in recent years between the experiential and extracurricular

            opportunities available to students in affluent communities and those from low-

            income households, many of whom are African-American, Latino or come from

            low-income areas.



    Civic Values

        94. The NAEP civic framework states that “traits of private character such as moral

            responsibility, self- discipline, and respect for individual worth and human dignity

            are essential to the well-being of the American nation, society, and constitutional

            democracy.” It also emphasizes that “traits of public character, such as public

            spiritedness, civility, respect for law, critical-mindedness, and a willingness to listen,

            negotiate, and compromise, are indispensable for the nation’s well-being.” Nat’l

            Assessment Governing Bd., supra at 30.

        95. R.I.G.L §16-12-3, first adopted in 1896, requires each teacher to “cultivate in the minds of

            all children committed to his or her care the principles of morality and virtue.” Neither this

            statute nor any regulation requires teachers to cultivate civic and democratic values like



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           respect for the rule of law, equal protection of the laws and tolerance of people with

           differing views.

        96.On information and belief, neither the requirements of R.I.G.L §16-12-3 nor any programs

           dealing with the democratic values that students need are systematically taught to students in

           most schools throughout Rhode Island.



       Civic Integration

        97. Demographic trends in the United States and in Rhode Island in particular indicate

           that the population at large, and the school population in particular, are becoming

           increasingly diverse. For example, for the United States as a whole, the Black

           percentage of the population, which was 13.3% in 2016 is expected to increase to

           13.8% in 2030 and to 15% in 2060; the Asian percentage, which was 5.7% in 2016

           is slated to rise to 6.9 % in 2030 and to 9.1 % in 2060. The fastest growing

           demographic group in the United States are Latinos who constituted 17.8% of the

           population in 2016, are expected to rise to 21.1% of the population in 2030 and to

           27% in 2060. Jonathan Vespa et al, Demographic Turning Points for the United

           States: Population Projections for 2020 to 2060, U.S. Census Bureau (2018),

           https://www.census.gov/content/dam/Census/library/publications/2018/demo/P25_1

           144.pdf

        98. These trends also apply to Rhode Island. For example, in Rhode Island, Latinos, the

           state’s fastest growing demographic group, tripled their numbers since 1990. As of

           2016, Latinos constituted 8.9% of the state’s population and they are expected to

           constitute 14.2% by 2032. William H. Frey et al., America’s electoral future: How

           Changing Demographics Could Impact Presidential Elections from 2016 to 2032,

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           American Enterprise Institute (2016), https://www.aei.org/publication/americas-

           electoral-future-how-changing-demographics-could-impact-presidential-elections-

           from-2016-to-2032/

        99. In Rhode Island, a fifth of the public schools are more than 90% white. At the same

           time, 14% of schools are more than 90% students of color. In terms of the

           percentage of Latino students attending intensely segregated schools, Rhode Island

           has the sixth most segregated schools among the 50 states.

        100. In our highly polarized society, schools continue to be among the only places where

           people from diverse political and social backgrounds can come together in a setting

           where values of tolerance and respect for individuals from differing backgrounds

           continue to be prized and where a democratic community that motivates individuals

           with differing social, cultural and political views to develop mutual respect and trust

           can be developed effectively.

        101. This “civic integration” role was a prime motivation for the founding of “common

           schools” in the nineteenth century, and the integrative role of the schools has taken

           on even greater significance now in the twenty-first century. Civic integration does

           not require racial or socio-economic quotas, or mandatory school assignments. It

           does, however, call upon public officials, policy makers and educators to understand,

           promote and take advantage of the demographic trends that can support and increase

           civic integration in the schools.

        102.For civic integration purposes, “diversity” includes racial, ethnic, religious, and

           socio-economic backgrounds, linguistic and disability conditions, gender, sexual

           orientation and ideological perspectives. Civic integration means taking appropriate



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            steps, consistent with the requirements of existing federal law, to increase the full

            range of diversity in the schools throughout the state to the maximum extent feasible

            and utilizing that diversity to develop a communal ethos in each school that will

            enhance the civic awareness and civic values of all students.

        103.The state defendants have failed to promote effective civic integration. For example, they

            have failed to adopt policies that could promote civic integration through effective school

            siting, revising school assignment zones, creating magnet schools and promoting inter-

            district school transfer programs and housing integration projects. They have also failed to

            adopt and implement effective policies for ensuring the diversity of the populations in

            charter schools and in schools for which admission is primarily decided by student choice.

        104. Principals, teachers and other staff at many schools in Rhode Island receive no

            instruction or professional development training on civic integration and in how to

            create a school ethos that creates a sense of agency in all students, overcomes civic

            empowerment gaps, and promotes effective inter-personal relations and civic spirit.

        105. A positive civic ethos requires all students to feel that they have a stake in the

            society and in its political system, and that institutions can work for them and their

            families in the future, even if these institutions have not been fully responsive to

            their needs in the past. Such an ethos cannot develop effectively in schools where

            students are treated unequally or among students who are resentful of the fact that

            their schools lack important resources and opportunities that students who attend

            other schools regularly enjoy.

        106. Because of the inadequate educational opportunities at the schools attended by

            many students from low-income backgrounds, a substantial number of these students

            drop out of school and are ill-prepared to function effectively in our society. For

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           example, many school dropouts have been rejected for military service because of

           their inadequate educational backgrounds.

        107. In order to be capable voters and jurors and to participate effectively in civic

           affairs, students who enter school as English language learners need to develop

           competent English language skills. Substantial numbers of English language learners

           have enrolled in schools in Rhode Island in recent years, and those numbers are

           projected to increase markedly in the coming years. For example, in Central Falls,

           approximately 65% of the students are Latino and 30% are English language learners

           (ELLs), and in Providence, 67% of the students are Latino and 25% are ELLs.

        108. State defendants have failed to provide appropriate programs and services for

           English language learners. For example, Providence and other districts serving large

           numbers of English language learners in Rhode Island:

          a. Have adopted educational programs that are not educationally sound, such as

              “consultation models” that place students with general education teachers who

              consult every few weeks with certified bi-lingual or ESL teachers, in violation of

              the requirements of Castaneda v. Pickard, 648 F.2d 989 (5th Cir. 1981).

          b. Fail to provide adequate periods of English as a Second Language (ESL) or

              bilingual programming.

          c. Fail to staff their ELL programs with sufficient qualified teachers.

          d. Fail to provide sufficient materials to implement ELL programs.

          e. Fail to adequately train principals to implement ELL programs.

          f. Fail to timely identify all ELLS.




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          g. Fail to effectively communicate with many parents with limited English

              proficiency and fail to properly inform them of their students’ rights and

              educational options.

          h. Fail to provide ELLs equal opportunities to participate in gifted, vocational and

              special education programs.

          i. Utilize inappropriate exit criteria and fail to properly monitor exited students.

        109. Despite these substantial and largely unmet needs, state defendants severely

           underfund services for ELL students. In total, the state provided only $2.75 million

           in funding for ELL programs in the current school year’s state aid budget, an amount

           that averages only $250 per student and is grossly inadequate to meet ELL

           programming needs, especially in the high poverty school districts that have large

           concentrations of ELL students and minimal ability to raise local funds to meet the

           intense needs of their students.

        110.The lack of meaningful educational opportunities for Latino students in Rhode is a

           direct cause of grossly unacceptable academic outcomes for these students. For the

           2015-206 school year, only 24% of Latino students met 3rd grade expectations in

           reading, compared with 49% of white students, and 28% of Latino students met 3rd

           grade expectations in math, compared to 53% of white students. On the

           examinations administered by the National Assessment of Educational Progress

           (NAEP) in 2017, Rhode Island’s Latino students ranked 40 th in the United States

           among all Latino students in the nation. The Annie E. Casey Foundation compiles an

           index score for racial equity for children based on 12 factors such as proficiency

           scores, young adults who are in school or working, and young adults who have



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           completed an associate degree or higher. For 2017, Rhode Island’s Latino students

           ranked 49th out of the 49 states for which data was available. Anne E. Casey

           Foundation, Race to Results: Building a Path to Opportunity for all Children, 41

           (2017) http://www.aecf.org/m/resourcedoc/aecf-2017raceforresults-2017.pdf.

        111. English Language Learners in Rhode Island – 75% of whom are Latino – are

           among the lowest performing ELLs in the nation. On the 2017 NAEP exams, Rhode

           Island ranked 36 out of 37 reporting states in 8th grade reading, and it ranks last out

           of 39 reporting states in 8th grade mathematics achievement for ELL students. ELLs

           in RI also face disturbingly low proficiency levels in urban districts, with 0–1% of

           ELL students being proficient in some districts and skill categories. Overall, then,

           many, if not most, schools in Rhode Island that have substantial numbers of English

           language learners fail to properly develop their English language skills to a level

           necessary for them to read and converse in the English language and for them to vote

           with full knowledge of relevant political issues and to function effectively as civic

           participants.

        112. As set forth in the previous paragraphs, the schools attended by the individual

           plaintiffs and most other schools in Rhode Island are substantially deficient in terms

           of the opportunities they provide for students to obtain the civic knowledge, civic

           skills, civic experiences and civic values that they need to function productively as

           civic participants. Nevertheless, there are a small number of schools in the state that

           currently are providing their students an education sufficient to prepare them for

           capable citizenship in accordance with the requirements of the Constitution of the

           United States. In these schools, educators have chosen to make education for capable



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           citizenship a high priority, and the state’s education finance systems have provided

           them, in contrast to the schools attended by the plaintiffs and the class they

           represent, with sufficient resources to provide such education.

        113. For example, North Kingstown High School in the affluent North Kingstown

           school district provides their 1400 students, only 1% of whom are African American

           and 3% of whom are Latino, meaningful opportunities for an education that prepares

           them to function productively as civic participants. The school has a rich curriculum

           that includes a robust array of Advanced Placement courses, well-qualified teachers

           and small classes. Its student achievement test scores in all subjects and its

           graduation rate are substantially above state averages.

        114. In North Kingstown, all students must take a “Democracy” course in the 11 th or 12th

           grade; the course includes substantial opportunities to engage in democratic

           community activities. All students must also take two courses in U.S. history.

           Electives include “Contemporary History” focusing on the Post-Watergate era,

           “Current Issues,” “History through Film” and “Law.”

        115. North Kingstown also has a school wide digital learning program that emphasizes

           digital citizenship, the ability to critically assess information obtained through the

           media and the use of ethical behavior when accessing technology. The high school

           emphasizes student engagement in community activities and actively promotes the

           development of specific civic values and a positive school culture. The school offers

           a wide range of extracurricular programs, including an active student government,

           yearbook, mock trial, band, orchestra, drama, community service, leadership society

           (that develops specific civic leadership skills), a wide range of clubs and the largest



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           athletic program in Rhode Island. As a graduation requirement, all students must

           complete a senior project, which may consist of a major service experience, an

           option which is specifically encouraged by the school.

                                CLASS ACTION ALLEGATIONS

        116. The individual named plaintiffs bring this action on their own behalf and, pursuant

           to Rule 23 (b), Federal Rules of Civil Procedure, on behalf of all other persons

           similarly situated. The class is composed of all students attending public K-12

           schools in Rhode Island pursuant to the state’s compulsory attendance requirements

           who are not receiving a meaningful opportunity to obtain the degree of education

           that is necessary to prepare them to be capable voters and jurors, to exercise

           effectively their right of free speech, to participate effectively and intelligently in our

           open political system and to function productively as civic participants due to some

           or all of the defendants’ actions, omissions, laws, policies and practices, as described

           in this complaint.

        117. The class is so numerous that individual joinder of all members is impracticable.

           The class as defined numbers thousands of persons but the precise number is within

           the knowledge of defendants and its specific formulation must await discovery and

           hearing. The state defendants have acted or refused to act on grounds that apply

           generally to the class, so that final declaratory relief or corresponding injunctive

           relief is appropriate respecting the class as a whole.

        118.This case raises questions of law and fact common to all members of the since the

           defendants have acted or refused to act on grounds that apply generally to the class,

           so that final declaratory relief or corresponding injunctive relief is appropriate


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          respecting the class as a whole. Common questions of law and fact include, but are

          not limited to:

             a) Whether because of defendants’ actions, omissions, laws, policies and

                practices, the named plaintiffs and similarly situated students throughout

                Rhode Island are being denied a meaningful opportunity to obtain the degree

                of education that is necessary to prepare them to be capable voters and jurors,

                to exercise effectively their right of free speech, to participate effectively and

                intelligently in our open political system and to function productively as civic

                participants;

             b) Whether defendants have failed to enact appropriate laws, regulations,

                standards, and to ensure adequate resources, guidance and accountability

                systems to provide the named plaintiffs and similarly situated students

                throughout the state appropriate courses, assessments, instruction, experiential

                opportunities and extracurricular activities that are needed to provide them the

                civic knowledge, civic skills, civic experiences and civic values that that are

                necessary and appropriate to prepare them for capable citizenship;

             c) Whether defendants have failed to ensure that teachers throughout the state

                are sufficiently trained to provide competent instruction in all areas of civic

                preparation;

             d) Whether sufficient and adequate programs for bilingual and ESL programs for

                English language learners exist in all schools attended by English language

                learners in the state;




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              e) Whether defendants’ actions, omissions, laws, policies and practices, as

                  described in this complaint violate the rights of the named plaintiffs and the

                  members of the class under the Fourteenth Amendment, the Sixth and Seventh

                  Amendments and Article Four, Section Four of the Constitution of the United

                  States.

        119. The claims of the individual plaintiffs are typical of the claims of the class as a

           whole. The named plaintiffs all attend schools in various parts of the state that are

           not providing them a meaningful opportunity to obtain an education adequate to

           prepare them for capable citizenship. The representative parties will fairly and

           adequately protect the interests of the class. Plaintiffs are represented by experienced

           counsel who will adequately represent the interests of the class.

        120. A class action is appropriate and necessary in this case because prosecution of

           separate actions by individual members of the class would create a substantial risk of

           inconsistent or varying adjudications with respect to the operation of education

           programs in Rhode Island and would preclude a necessary coordinated structural

           solution to the common problems. Furthermore, class action designation is necessary

           to avoid possible problems of mootness if the course of this litigation should extend

           over any appreciable length of time and the individual plaintiffs should become

           ineligible for educational services by reason of age, change of residence, or other

           circumstances, or if defendants should undertake to meet the educational needs of

           the named plaintiffs, without effectively eliminating their systematic violations of

           law and without, therefore, remedying the injuries suffered by numerous unnamed

           members of the plaintiff class.



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                               CAUSES OF ACTION

                           FIRST CAUSE OF ACTION

        121. Plaintiffs repeat and incorporate herein the allegations of paragraphs 1 through

           120.

        122. Defendants have violated the equal protection clause of the Fourteenth Amendment

           to the United States Constitution and 42 U.S.C. § 1983 by denying to the named

           plaintiffs and other members of the plaintiff class their fundamental interest in

           receiving a meaningful opportunity to obtain the degree of education that is

           necessary to prepare them to be capable voters and jurors, to exercise effectively

           their right of free speech, and other constitutional rights, to participate effectively

           and intelligently in our open political system and to function productively as civic

           participants.

        123. Defendants have violated the Equal Protection Clause of the Fourteenth

           Amendment to the United States Constitution by denying the named plaintiffs and

           other members of the plaintiff class a meaningful opportunity to obtain a basic

           education necessary to prepare them to be capable voters and jurors, to exercise

           effectively their right of free speech and other constitutional rights, to participate

           effectively and intelligently in our open political system and to function productively

           as civic participants, without demonstrating any substantial state interest for doing

           so.

        124. Defendants have violated the Equal Protection Clause of the Fourteenth

           Amendment to the United States Constitution, by denying the named plaintiffs and

           other members of the plaintiff class a meaningful opportunity to obtain the degree of


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           education necessary to prepare them to be capable voters and jurors, to exercise

           effectively their right of free speech and other constitutional rights, to participate

           effectively and intelligently in our open political system and to function productively

           as civic participants, without demonstrating any rational relationship to any

           legitimate state reason for doing so.


                              SECOND CAUSE OF ACTION

        125. Plaintiffs repeat and incorporate herein the allegations of paragraphs 1 through 124.

        126.Defendants have violated the Due Process Clause of the Fourteenth Amendment to

           the United States Constitution and 42 U.S.C. § 1983 by denying the named plaintiffs

           and other members of the plaintiff class their fundamental substantive right to a

           meaningful opportunity to obtain an education adequate to prepare them to be

           capable voters and jurors, to exercise effectively their right of free speech and other

           constitutional rights, to participate effectively and intelligently in our open political

           system and to function productively as civic participants.

        127. Defendants have violated the Due Process Clause of the Fourteenth Amendment to

           the United States Constitution, by compelling the individual named plaintiffs and

           other members of the plaintiff class to attend public schools but failing to provide

           them while in school a meaningful opportunity to obtain an education adequate to

           prepare them to be capable voters and jurors, to exercise effectively their right of

           free speech and other constitutional rights, to participate effectively and intelligently

           in our open political system and to function productively as civic participants.

                              THIRD CAUSE OF ACTION

        128. Plaintiffs repeat and incorporate herein the allegations of paragraphs 1 through 127.

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        129. Defendants have violated the Privileges and Immunities Clause of the Fourteenth

           Amendment to the United States Constitution and 42 U.S.C. § 1983 by denying the

           named plaintiffs and other members of the plaintiff class their fundamental right to a

           meaningful opportunity to obtain an education adequate to prepare them to be

           capable voters and jurors, to exercise effectively their right of free speech and other

           constitutional rights, to participate effectively and intelligently in our open political

           system and to function productively as civic participants, a right that should be

           immune from state abridgement.



                             FOURTH CAUSE OF ACTION

        130. Plaintiffs repeat and incorporate herein the allegations of paragraphs 1 through 129.

        131. Defendants have violated the Sixth and Seventh Amendments to the United States

           Constitution and 42 U.S.C. § 1983, as well as the requirements of the federal Jury

           Selection and Service Act, 28 U.S.C. sec. 186, by failing to prepare plaintiffs to be

           eligible for and to serve effectively on federal and state juries, and have also thereby

           denied all named plaintiffs and members of the plaintiff class their rights to be tried

           in all criminal and civil cases by a jury of their peers selected at random from a fair

           cross section of the community.

                               FIFTH CAUSE OF ACTION

        132. Plaintiffs repeat and incorporate herein the allegations of paragraphs 1 through 131.

        133. Defendants have violated the Republican Guarantee Clause of Article Four, Section

           Four of the United States Constitution by failing to provide the individual named

           plaintiffs and other members of the plaintiff class a meaningful opportunity to obtain


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            an education adequate to prepare them to be capable voters and jurors, to exercise

            effectively their right of free speech and other constitutional rights, to participate

            effectively and intelligently in our open political system and to function productively

            as civic participants capable of maintaining a republican form of government.




                                 REQUEST FOR RELIEF

    PLAINTIFFS respectfully request on their own behalf and on behalf of all others similarly

    situated that this Court:

       1. Determine by Order, pursuant to Rule 23 (c) (1), Federal Rules of Civil Procedure,

           that this action may be maintained as a class action;

       2. Enter a final judgment pursuant to 28 U.S. C §§2201, 2202 and Rules 54, 57 and 58,

           Federal Rules of Civil Procedure,

           a.   Declaring that all students in the United States have a right under the Fourteenth

                Amendment, the Sixth and Seventh Amendments, and Article 4, Section 4 of the

                United State Constitution, and under the Jury Selection and Service Act of 1968

                to a meaningful educational opportunity adequate to prepare them to be capable

                voters and jurors, to exercise effectively all of their constitutional rights, including

                the right to speak freely, to participate effectively and intelligently in a

                democratic political system and to function productively as civic participants in a

                democratic society; and

           b.   Enjoining the defendants, their successors in office, agents and employees from

                failing to adopt such laws, regulations policies and practices as are necessary to

                ensure that the individual plaintiffs and the members of the plaintiff class are

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                  provided meaningful educational opportunities adequate to prepare them to be

                  capable voters and jurors, to exercise effectively all of their constitutional rights,

                  including the right to exercise effectively their rights to speak freely, to

                  participate effectively and intelligently in a democratic political system and to

                  function productively as civic participants in a democratic society

          3.   Awarding plaintiffs their costs, disbursements, and reasonable attorneys’ fees and

               expenses pursuant to 42 U.S.C.§ 1988 and any other applicable provisions of law; and

          4. Granting such other alternative or additional relief as the Court may deem just and

               proper under the circumstances.




 Dated:    November 28, 2018

                                                                  Respectfully submitted,

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